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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :
                                             :       Case No: 21-CR-292 RCL
                                             :
CHRISTOPHER WORRELL,                         :
                                             :
Defendant.                                   :

        GOVERNMENT’S RESPONSE TO SHOW-CAUSE ORDER (ECF NO. 68)

       The United States of America respectfully submits this response to this Court’s order

requesting that the government show cause why the Court’s sealed Memorandum Opinions (ECF

68) should not be unsealed. In light of the defendant’s filings, the Government does not oppose

unsealing the Court’s Memorandum Opinion. A sealed, attached copy of the Opinion contains a

few proposed redactions of potentially sensitive or identifying information about either witnesses

or Worrell’s medical providers.

       The government initially moved to seal its supplemental brief primarily because of that

filing’s significant discussion of Worrell’s medical history. If Worrell does not oppose the

unsealing of that filing (with any necessary redactions), the government does not either. The

government has submitted as a sealed attachment to this filing a slightly redacted version of its

memorandum in the event it is unsealed, with those redactions again aimed at protecting

potentially sensitive information about a witness. The government would be amenable to any

other redactions proposed by Worrell concerning his medical history, condition, or treatment.

       The government does contend that Exhibits 1 and 3 to its supplemental brief (ECF Nos.

60-1 and 60-3) should remain sealed to protect the defendant’s and other individuals’ privacy,

especially given that relevant portions of Worrell’s medical history are discussed in sufficient


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detail in public filings. Those Exhibits are the D.C. Jail and Howard University Hospital medical

records, and contain the names, addresses, and phone numbers of medical providers and other

third parties, as well as the defendant’s personal identifying information and medical history.



Date: June 7, 2021                       Respectfully submitted,

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